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                    IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                            NORTHERN DISTRICT OF MISSISSIPPI

IN RE: RONALD JAMES STEWART AND                           BANKRUPTCY CASE NO: 14‐14123‐JDW
CAROLYN JEAN STEWART

                                 MOTION TO MODIFY CONFIRMED PLAN

       COMES NOW, Carolyn Jean Stewart, by and through the undersigned attorney Susan C.

Smith and prays this Honorable Court will Modify the Confirmed Plan due to hardship, and allow

the Plan to be completed as early as possible Debtor states to wit:

   1. Debtors filed their petition for bankruptcy November 4, 2014;

   2. Mr. Ronald J. Stewart died August 18, 2016 and the Debtor has been struggling to make her

       payments but taxes and insurance keep rising ;

   3. Through order of this court dated June 24, 2015, the Debtors were asked to pay an

       additional amount to pay all general unsecured claims in full. The remaining Debtor no

       longer has all the resources the Joint Debtors possessed at the time of filing or upon June 24,

       2015. It is an extreme hardship upon the remaining Debtor; and,

   4. Creditors have received more than they would have through a Chapter 7 liquidation.

       WHEREFORE PREMISES CONSIDERED, the Debtor by and through the undersigned

attorney Susan C. Smith prays this Honorable Court will order all payments to the unsecured

creditors to cease and allow the Debtor to complete her modified plan and for all else deemed just

and equitable by this Honorable Court.

       This the 26th day of April 2019.
                                                                              Carolyn J Stewart
                                                                              BY: /s/ Susan C. Smith
                                                                              Susan C. Smith
Of Counsel:
/s/ Susan C. Smith
Susan C. Smith, 99776
PO Box 1251
Greenville, MS 38702
Phone 662-378-2558
Fax 662-378-2543
Email smithsusanc@bellsouth.net
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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE: RONALD JAMES STEWART AND                            BANKRUPTCY CASE NO: 14‐14123‐JDW
CAROLYN JEAN STEWART

                       NOTICE OF MOTION TO MODIFY CONFIRMED PLAN

YOU ARE HEREBY NOTIFIED that you have thirty (30) to file a written objection to the attached
Motion to Modify Confirmed Plan. Said objection must be filed with the Clerk of this Court at the
following address.
                                  Clerk, U. S. Bankruptcy Court
                                 Northern District of Mississippi
                                    703 Highway 145 North
                                  Aberdeen, Mississippi 39730

A copy of said objection must be served on the undersigned Debtor(s) attorney and the Chapter 13
Trustee on or before May 28, 2019, and the Court will notify you of the date, time and place of the
hearing thereon. If no objections are filed timely, the Motion to Modify Confirmed Plan shall be
deemed valid.

                                     CERTIFICATE OF SERVICE

        I, Susan C. Smith, attorney for the Debtor, do hereby certify that I have this day
electronically filed or mailed by U. S. Mail, postage prepaid, a true and correct copy of the Motion
and Notice of Motion to Modify Confirmed Plan to the following at their last known address:

BY ELECTRONIC FILING:
U. S. Trustee
Locke D. Barkley Chapter 13 Trustee
Kimberly D. Mackey on behalf of Creditor Wells Fargo Bank, NA

BY U. S. MAIL:

Carolyn J. Stewart
8445 Juanita Dr.
Olive Branch, MS 38654-8072


And attached list of creditors

       THIS the 26th day of April, 2019.
                                                               /s/Susan C. Smith
                                                               SUSAN C. SMITH, MSBN 99776
                                                               POB 1251
                                                               Greenville, Mississippi 38702-1251
                                                               662-378-2558
                                                               smithsusanc@bellsouth.net
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                                              AmeriCredit Financial Services, Inc.    AmeriCredit Financial Services, Inc.
 AmeriCredit Financial Services, Inc.
                                              dba GM                                  dba GM Financial
 PO Box 183853
                                              PO Box 183853                           PO Box 183853
 Arlington, TX 76096
                                              Arlington, TX 76096                     Arlington, TX 76096


 Aurora Financial Group                       Audit Systems Incorporated             * Citi Bank/Sears Card
 9 Eves Drive, Suite 190                      3696 Ulmerton Road, Suite 200           PO Box 6500
 Marlton, NJ 08053-8114                       Clearwater, FL 33762-4237               Sioux Falls, SD 57117-6500

                                                                                     * City of Milwaukee-Milwaukee Water
* CACH, LLC                               * Capital Management Services, L             Works
 PO Box 10587                                 PO Box 120                               841 N. Broadway Room 406
 Greenville, SC 29603-0587                    Buffalo, NY 14220-0120                   Milwaukee, WI 53202


*City of Milwaukee                        * City of Milwaukee Neighborhood           * GE Money Bank/Belk
 City Treasurer, City Hall                    Services                                Attn: Bankruptcy Department
 200 E. Wells St., Room 103                   4001 S. 6th St.                         PO Box 103104
 Milwaukee, WI 53202-3546                     Milwaukee, WI 53221-1704                Roswell, GA 30079-9104

* City of Milwaukee-Milwaukee Water                                                  * HSBC Bank/Menards
 Works                                        Financial Recovery Services
                                                                                      Attn: Bankruptcy Department
 City Treasurer, City Hall                    PO Box 385908
                                                                                      PO Box 5213
 200 E. Wells St., #800                       Minneapolis, MN 55438-5908
                                                                                      Carol Stream, IL 60197-5213
 Milwaukee, WI 53202-3546

* GE Financial                            *   HSBC Bank
                                                                                      Northland Group, Inc.
 Attn: Bankruptcy Department                  Attn: Bankruptcy Department
                                                                                      PO Box 390846
 PO Box 183853                                PO Box 5213
                                                                                      Minneapolis, MN 55439-0846
 Arlington, TX 76096-3853                     Carol Stream, IL 60197-5213


                                          * Kenwood Law Group                         Recovery Management Systems
 Harris and Harris LTD
                                                                                      Corporation
 111 West Jackson Blvd                        5050 Palo Verde St. Suite 116
                                                                                      25 S.E. 2nd Ave, Suite 1120
 Chicago, IL 60604-4135                       Montclair, CA 91763-2333
                                                                                      Miami, FL 33131-1605


* PNC Mortgage                                Portfolio Recovery Associates, LLC      Seterus, Inc
 PO Box 6534                                  PO Box 41067                            PO Box 2008
 Carol Stream, IL 60197-6534                  Norfolk, VA 23541                       Grand Rapids, MI 49501-2008


                                                                                      The Home Depot/CBSD
* Sears MasterCard                            Selene Finance
                                                                                      Legal Dept.
 PO Box 183082                                PO Box 422039
                                                                                      PO Box 6034
 Columbus, OH 43218-3082                      Houston, TX 77242-4239
                                                                                      Sioux Falls, SD 57117-6034


                                              Attorney Kevin Sullivan                * U.S. Bank National Association
 Carolyn Jean Stewart
                                              Agent for the City of Milwaukee
 8445 Juanita Drive                                                                   14841 Dallas Parkway, Suite 300
                                              841 N. Broadway Room 1018
 Olive Branch, MS 38654-8072                                                          Dallas, TX 75254-7883
                                              Milwaukee, WI 53202
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                                                                                  * U.S. Bank Home Mortgage
* US Bank NA                                * U.S. Bank Home Mortgage
                                                                                   Bankruptcy Department
 14841 Dallas Pkwy # 300                     4801 Federica Street
                                                                                   PO Box 21948
 Dallas, TX 75254-7883                       Owensboro, Kentucky 42301-7441
                                                                                   Saint Paul, MN 55121-0948

 Wells Fargo Bank, NA                                                              Wells Fargo Bank, N.A.
 Default Document Processing,               *We Energies                           Attention: Bankruptcy Department
 N9286-01Y                                   231 W. Michigan St.                   MAC# D3347-014
 1000 Blue Gentian Rd.                       Milwaukee, WI 53203-2918              3476 Stateview Blvd.
 Eagan, MN 55121-7700                                                              Fort Mill, SC 29715-7203

                                                                                   Wells Fargo Bank, N.A.
 Wells Fargo Home Mortgage                   Wells Fargo Bank, NA
                                                                                   MAC x7801-014
 PO Box 10335                                1000 Blue Gentian Rd.
                                                                                   3476 Stateview Blvd.
 Des Moines, IA 50306-0335                   Eagan, MN 55121-7700
                                                                                   Fort Mill, SC 29715-7203

CSC of Rankin County, Inc.- Registered
Agent for Americredit Financial Services,                                          Registered Agent Solutions, Inc-
Inc. dba GM Financial                        Registered Agents, Inc- Registered
                                                                                   Registered Agent for Audit Systems
Mirror Lake Plaza                            Agent for Aurora Financial Group
                                                                                   Inc.
2829 Lakeland Drive Suite 1502               270 Trace Colony Park STE B
                                                                                   12435 Plunkett Road
Flowood, MS 39232                            Ridgeland, MS 39157
                                                                                   Gulfport, MS 39503

                                             Corporation Service Company-
 C T Corporation System- Registered                                                C T Corporation System- Registered
                                             Registered Agent for Harris and
 Agent for Financial Recovery Services                                             Agent for Northland Group, Inc.
                                             Harris LTD
 645 Lakeland East Drive, Suite 101                                                645 Lakeland East Drive, Suite 101
                                             7716 Old Canton Rd, Suite C
 Flowood, MS 39232                                                                 Flowood, MS 39232
                                             Madison, MS 39110
 Corporation Service Company-                                                      Corporation Service Company-
 Registered Agent for Portfolio              C T Corporation System- Registered
                                                                                   Registered Agent for The Home
 Recovery Associates, LLC                    Agent for Selene Finance
                                                                                   Depot/CBSD
 7716 Old Canton Rd, Suite C                 645 Lakeland East Drive, Suite 101
                                                                                   7716 Old Canton Rd, Suite C
 Madison, MS 39110                           Flowood, MS 39232
                                                                                   Madison, MS 39110
 Corporation Service Company-
                                             C T Corporation System- Registered
 Registered Agent for Wells Fargo
                                             Agent for Seterus, Inc
 Bank, N.A.
                                             645 Lakeland East Drive, Suite 101
 7716 Old Canton Rd, Suite C
                                             Flowood, MS 39232
 Madison, MS 39110




     * Does not have Registered Agent
